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uNlTED sTATEs oF AMERch Cl%“§¢ §§UMM
Plaintiff
vs.
cR. No. 05-20206-0
REG|NALD sELLERs
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FYlNG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Thursda Se tember 22 2005. at 9:00 a.m., in Courtroom 3. 9th Floor

 

of the Federa| Bui|ding, |V|emphis, TN.
The period from June 30, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

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RN|CE B. NALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet inoo`o§mp|iance

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to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this di day Of Ju|y, 2005.

 

   

UNITED sTTES DISTRIC COUR - WESTERN D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

